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                        UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION                       K'ilDDLE I'OT^iCvVLOPIDA
                                                                            TAMPA. FLORIDA
  UNITED STATES OF AMERICA

  V.                                          CASENO.'S-.V'N cV'S'So'Te.-z-S| ^
                                                        16 U.S.C.§ 3372(a)(1)
  AKBAR AKRAM                                           16 U.S.C. § 3373(d)(1)(B)


                                   INFORMATION


        The United States Attorney charges:

                                     Introdnction


        At all times material to this Information:

        1.       Akbar Akram was a resident ofthe Middle District ofFlorida.

        2.       Water monitor lizards were semi-aquatic monitor lizards

  endemic to South and Southeastern Asia.

        3.       The yellow-headed water monitor lizard (Varanus cumingt) and

  white-headed water monitor lizard {Varanus nuchalis) were endemic to the

  Philippines.

                                    The Lacev Act


        4.       The Lacey Act made it unlawful for any person to import, export,

 transport, sell, receive, acquire, or purchase any wildlife that were taken,

 possessed, transported, or sold in violation ofany law, treaty, or regulation ofthe

 United States. 16 U.S.C.§ 3372(a)(1).
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         5.    The Lacey Act defined the term "wildlife" to mean any wild animal,

  whether alive or dead, including any wild mammal,bird, reptile, amphibian,

  mollusk, crustaceEin, arthropod, coelenterate, or other invertebrate, and 2iny part,

  product, egg, or oflfepring thereof. 16 U.S.C. § 3371(a). Water monitor lizards

  were considered "wildlife" under the Lacey Act.

                                  The CXTLS Treaty


        6.     The Convention on International Trade in Endangered Species of

  Wild Flora and Fauna("CITES")was an international agreement between

  governments to provide protection to fish, wildlife, and plants that may become

  imperiled due to the demands ofinternational markets. The United States and the

  Philippines were parties to the CITES treaty.

        7.     Under the CITES, certain species were classified into three

  appendices. International trade ofspecies listed in these appendices was

  monitored and regulated by permits. The yellow-headed water monitor lizard and

  white-headed water monitor lizard were protected under Appendix II ofthe

  CITES treaty.

        8.     The CITES required that a valid foreign export permit, issued by the

  country oforigin, be obtained prior to importing a CITES Appendix n listed

  species into the United States. 50 C.F.R.§ 23.13(a).

        9.     In 2016,the Philippines did not issue CITES permits for the export

 of yellow-headed water monitor lizards or white-headed water monitor lizards.
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                              The Endangered Species Act

         10.    The Endangered Species Act made it unlawful for anyone to engage

  in trade contrary to the CITES. 16 U.S.C.§ 1538(c)(1); 50 C.F.R.§ 23.13(a) and

  (c). "Trade" included importation into the United States. 50 C.F.R.§ 23.5.

         11.    United States federal regulations required that all wildlife, or parts

  thereof, be declared to the United States Customs Service and the United States

  Fish and Wildlife Service(USFWS)prior to import into the United States. 16

  U.S.C.§ 1538(e); 50 C.F.R. § 14.61. Federal regulations also required that the

  USFWS clear all wildlife imported into the United States, and that the importer

  or his agent make available to the officer the wildlife being imported, as well as all

  required permits, licenses, or other documents. 50 C.F.R. § 14.52. Federal

  regulations required that the wildlife only be cleared at certain ports authorized in

  the regulations, or by permit. 50 C.F.R.§ 14.11.

         12.    Federal regulations regarding the marking ofcontainers and

  packages prohibited the importation ofany container or package containing any

  wildlife unless an accurate and legible list of its contents by species 2ind the

  number ofeach species accompanied the shipment. 50 C.F.R.§ 14.81.
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                                     COUNT ONE


         Between in or around March 2016, and in or around April 2016, in the

  Middle District ofFlorida and elsewhere, the defendant,

                                  AKBARAKRAM,

  did knowingly receive, acquire, purchase, transport and sell wildlife, namely two

  yellow-headed water monitor lizards {Varanus cumingt) and one white-headed

  water monitor lizard {Varanus nuchalis), with a market value in excess of$350,

  and did aid and abet in the same,knowing that such wildlife was taken,

  possessed, transported, and sold in violation of any law, treaty, and regulation of

  the United States, to wit, the Endangered Species Act, 16 U.S.C. § 1538(c)(1).

        In violation of 16 U.S.C.§ 3372(a)(1) and 3373(d)(1)(B) and 18 U.S.C.§ 2.

                                    FORFEITURE


         1.    The cdlegations contained in this information are incorporated by

  reference for the purpose of alleging forfeiture pursuant to the provisions of 16

  U.S.C.§ 3374 and 28 U.S.C.§ 2461(c).

        2.     Upon conviction ofa violation of 16 U.S.C.§ 3372,the defendant

  shall forfeit to the United States, pursuant to 16 U.S.C.§ 3374 and 28 U.S.C. §

 2461(c), all fish or wildlife or plants imported, exported, transported, sold,

 received, acquired, or purchased contrary to the provisions of 16 U.S.C.§ 3372,

 or any regulation issued pursuant thereto.
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         3.    If any ofthe property described above, as a result of any act or

  omission ofthe defendant:


        a.     cannot be located upon the exercise of due diligence;

        b.     has been transferred or sold to, or deposited with, a third party;

        c.     has been placed beyond the jurisdiction of the court;

        d.     has been substantially diminished in value; or

        e.     has been commingled with other property which cannot be divided

  without difficulty, the United States of America shall be entitled to forfeiture of

  substitute property under the provisions of 21 U.S.C. § 853(p), as incorporated by

  28 U.S.C § 2461(c).

                                                MARIA CHAPA LOPEZ
                                                United States Attorney


                                          By:
                                                Colin P. McDonell
                                                Assistant United States Attorney


                                          By:               ^
                                                Gary N/Donner
                                                Trial Artomey
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